
429 S.E.2d 574 (1993)
333 N.C. 576
STATE of North Carolina
v.
Donald BURTON.
No. 12P93.
Supreme Court of North Carolina.
May 6, 1993.
Irving Joyner, Durham, for defendant.
E. Lee Turner, Jr., Associate Atty. Gen., Ronald L. Stephens, Dist. Atty., for the State.
Prior report: 108 N.C.App. 219, 423 S.E.2d 484.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General; and upon consideration of the petition for discretionary review of the decision of the North Carolina Court of Appeals, filed by Defendant pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th day of May 1993."
The Petition for Discretionary Review is:
"Denied by order of the Court in conference, this the 6th day of May 1993."
